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  IT IS ORDERED as set forth below:



  Date: October 14, 2022
                                                    _________________________________

                                                              Paul W. Bonapfel
                                                        U.S. Bankruptcy Court Judge
 _______________________________________________________________



                            UNITED STATES BANKRUPTCY COURT`
                             NORTHERN DISTRICT OF GEORGIA
                                    ATLANTA DIVISION

       IN RE:                                             CASE NUMBER: 22-56766-PWB

       NICOLE LYNNE WIESEN
       aka Nicole Lynne Marcellus,                        CHAPTER 7

                Debtor.
                                                          JUDGE BONAPFEL
       NICOLE LYNNE WIESEN
       aka Nicole Lynne Marcellus,
                                                          CONTESTED MATTER
                Movant,

       v.

       KUPFERMAN & GOLDEN,
       ATTORNEYS AT LAW,

                Respondent.

                                              ORDER

                   Before the Court is the Motion to Avoid Lien (the “Motion”) of the above-
      named Debtor, as provided by 11 U.S.C. § 522(f) and Bankruptcy Rule 4003(d). (Docket No.
Case 22-56766-pwb      Doc 14    Filed 10/14/22 Entered 10/14/22 13:05:19           Desc Main
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      10). This Respondent has not filed a response; thus, the Motion is deemed to be unopposed.
      See BLR 6008-1(b), N.D. Ga. Accordingly, it is hereby

                    ORDERED AND ADJUDGED that the lien held by the Respondent upon
      exempt property of the above-named Movant is AVOIDED to the extent that such lien impairs
      an exemption to which Movant would have been entitled pursuant to 11 U.S.C. § 522(b).

                     The Clerk of Court is directed to serve a copy of this Order on the parties on
      the below distribution list.

                                        END OF DOCUMENT




                                       DISTRIBUTION LIST

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